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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR09-340 RAJ
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JORGE PINEDA-VALENZUELA,             )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged: Conspiracy to Distribute Cocaine; Possession of Cocaine

15 Date of Detention Hearing:     October 7, 2009

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant is reportedly a citizen of Mexico.

22          (2)    The United States alleges that his presence in this country is illegal. There is an


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 immigration detainer pending against him. The issue of detention in this case is therefore

02 essentially moot, as the defendant would be released to immigration custody if not detained in

03 this case.

04         (3)     Defendant and his counsel offer no opposition to the entry of an order of detention.

05         (4)     Upon advice of counsel, defendant declined to be interviewed by Pretrial Services.

06 Therefore, there is limited information available about him.

07         (5)     There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the

09 danger to other persons or the community.

10 It is therefore ORDERED:

11         (1)     Defendant shall be detained pending trial and committed to the custody of the

12                 Attorney General for confinement in a correction facility separate, to the extent

13                 practicable, from persons awaiting or serving sentences or being held in custody

14                 pending appeal;

15         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

16                 counsel;

17         (3)     On order of a court of the United States or on request of an attorney for the

18                 Government, the person in charge of the corrections facility in which defendant

19                 is confined shall deliver the defendant to a United States Marshal for the purpose

20                 of an appearance in connection with a court proceeding; and

21         (4)     The clerk shall direct copies of this Order to counsel for the United States, to

22                 counsel for the defendant, to the United States Marshal, and to the United States


     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01               Pretrial Services Officer.

02         DATED this 13th day of October, 2009.



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04                                            Mary Alice Theiler
                                              United States Magistrate Judge
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     DETENTION ORDER                                                                  15.13
     18 U.S.C. § 3142(i)                                                           Rev. 1/91
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